

Matter of Kavanaugh v Consumers Beverages, Inc. (2024 NY Slip Op 01434)





Matter of Kavanaugh v Consumers Beverages, Inc.


2024 NY Slip Op 01434


Decided on March 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, OGDEN, AND GREENWOOD, JJ.


194 CA 23-01367

[*1]IN THE MATTER OF MATTHEW KAVANAUGH, JAMES KAVANAUGH AND HELEN KAVANAUGH, FOR THE JUDICIAL DISSOLUTION OF CONSUMERS BEVERAGES, INC. PURSUANT TO BCL § 1104-a, PETITIONERS-APPELLANTS,
vCONSUMERS BEVERAGES, INC., ET AL., RESPONDENTS, AND CORNELIUS KAVANAUGH, ALSO KNOWN AS NEIL KAVANAUGH, RESPONDENT-RESPONDENT. (APPEAL NO. 2.) 






GROSS SHUMAN P.C., BUFFALO (KEVIN R. LELONEK OF COUNSEL), FOR PETITIONERS-APPELLANTS.
CONNORS LLP, BUFFALO (VINCENT E. DOYLE, III, OF COUNSEL), FOR
BARCLAY DAMON, LLP, BUFFALO (JAMES P. MILBRAND OF COUNSEL), FOR RESPONDENT CONSUMERS BEVERAGES, INC.


	Appeal from an order of the Supreme Court, Erie County (Timothy J. Walker, A.J.), entered April 28, 2023. The order denied the motion of petitioners seeking leave to renew. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated at Supreme Court.
Entered: March 15, 2024
Ann Dillon Flynn
Clerk of the Court








